                                          ORIGINA I                                        08/27/2024


          IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                       Case Number: DA 24-0068


                                         DA 24-0068


 ASHLEY LeANN TINTINGER,

              Petitioner and Appellee,

       and                                                           ORDER

 SAMUEL VERNON TINTINGER,

              Respondent and Appellant.



       Through counsel, Appellee Ashley Tintinger (Ashley) moves this Court for
dismissal of this appeal because self-represented Appellant Samuel Vernon Tintinger
(Samuel) appeals a Permanent Order of Protection, issued by the Standing Master of the
Fourth Judicial District Court, Missoula County, without having filed any objections in the
district court. Samuel did not file a written response to this motion; however, Ashley notes
Samuel's objection to the motion.
       This Court only recently became aware of the pending motion when the matter was
sent to the Court for classification after the completion of briefing. This Court attempts to
handle pending motions in a more expedited manner than this.
       Turning to Ashley's motion, she argues that Samuel's appeal is improperly before
this Court. Under Montana law, a party cannot appeal a decision by a standing master
directly to this Court. Scrantom v. Masters, 2018 MT 109, ¶ 9, 391 Mont. 251, 417 P.3d
339 (citing Beals v. Beals, 2013 MT 120, ¶ 13, 370 Mont. 88, 300 P.3d 1158). Ashley
explains that she sought a temporary order of protection against Samuel in December 2023
and that the matter was referred to a standing master, pursuant to § 3-5-124(1), MCA. She
adds that upon granting the temporary order, the standing master set a hearing on December
29, 2023, where both parties appeared. Ashley points out that after the standing master
issued a Permanent Order of Protection along with Findings of Facts and Conclusions of
Law on January 4, 2024, Samuel did not file any objections to the Order, as required by
§ 3-5-126(2), MCA, to place the matter before the District Court for review. Ashley
reiterates that the specific objection requirement is statutorily required to ensure due
process protections to both parties. In re Marriage of McMichael, 2006 MT 237, ¶ 15, 333
Mont. 517, 143 P.3d 439; Scrantom, ¶ 12. Ashley requests dismissal because Samuel
bypassed the written objection requirement by filing an appeal directly with this Court,
thereby waiving any objection.
      Upon review, we conclude that Ashley's motion is dispositive of this appeal because
Samuel did not comply with the statutory procedures, as listed in § 3-5-126(2), MCA.
Accordingly,
      IT IS ORDERED that:
      1. Ashley's Motion to Dismiss is GRANTED and this appeal is DISMISSED
          without prejudice; and
      2. the Clerk is directed to CLOSE this matter as of this Order's date.
      The Clerk also is directed to provide a copy of this Order to counsel of record and
to Samuel Vernon Tintinwersonally.
      DATED this Z:9- day of August, 2024.




                                                             Chief Justice
               FILED
               AUG 2 7 2024
           Bowen Greenwood
         Clerk of Suprerne Court
            State of Montana




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